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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CRIM. NO. 13-00653 (06) SOM
                               )
           Plaintiff,          )           ORDER DENYING DEFENDANT
                               )           JACOB FAAGAI-DEL MUNDO’S
      vs.                      )           MOTION TO SUPPRESS
                               )
 JACOB FAAGAI-DEL MUNDO (06), )
                               )
                               )
           Defendant.          )
 _____________________________ )

           ORDER DENYING DEFENDANT JACOB FAAGAI-DEL MUNDO’S
                          MOTION TO SUPPRESS

 I.          INTRODUCTION.

             Defendant Jacob Faagai-Del Mundo moves to suppress

 contraband seized when his vehicle was searched on November 5,

 2012, as well as statements he made on November 8, 2012, and June

 25, 2013.    Because there was probable cause for law enforcement

 agents to believe that there was contraband in Faagai-Del Mundo’s

 vehicle, his motion to suppress is denied.

 II.         FINDINGS OF FACT.

             This court sets forth its factual findings based on the

 evidence presented.      Whenever the court includes in its factual

 findings a matter that should properly be included in the court’s

 conclusions of law, or vice versa, the matter should be

 recharacterized so that it falls within the proper category.

             1.   This court held a hearing on Faagai-Del Mundo’s

 motion to suppress on November 21, 2014, at which Drug

 Enforcement Administration (“DEA”) Special Agents Clement Sze and
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 Lauren Carney testified.       The court found both witnesses

 credible.    The parties stipulated to the admission of Government

 Exhibits 1 to 14 for purposes of the hearing, and also agreed

 that, had he testified live, Sergeant Leslie Morris of the

 Honolulu Police Department would have testified as summarized at

 ECF No. 155 at PageID # 454.

             2.   Beginning in the summer of 2012, the DEA conducted

 an investigation involving Co-Defendant John Penitani that

 included court-authorized wiretaps.             See ECF No. 270-1, PageID

 # 443.    The wiretaps were operational from August 24, 2012,

 through November 14, 2012, and were aimed at identifying members

 of Penitani’s suspected drug trafficking network.                 See id.; ECF

 No. 270-1, PageID # 875.       After seizing fourteen ounces of

 methamphetamine that they attributed to Penitani as the source,

 see Testimony of Special Agent Clement Sze,1 law enforcement

 agents monitoring Penitani’s actions learned that Co-Defendant

 Julius Mitchell had given Penitani contact information for

 Faagai-Del Mundo.       See ECF No. 155, PageID # 444.

             3.   On October 29, 2012, agents intercepted calls and

 text messages between Penitani and Faagai-Del Mundo.                  See ECF No.

 270-1, PageID # 875.       Through these intercepted phone calls and


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        Although the court has had access to the court reporter’s
 rough transcript, no certified transcript has been filed.
 Accordingly, the court cannot provide transcript citations for
 references to testimony provided at the hearing held on November
 21, 2014.

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 messages, agents learned that Penitani and Faagai-Del Mundo

 planned to meet, apparently for the first time, at the Genki

 Sushi restaurant in the Kapolei area in West Oahu.                  Special Agent

 Sze testified that he thought the planned meeting probably

 involved drugs because Penitani seemed concerned about whether

 Faagai-Del Mundo was or would come alone.                See Testimony of

 Special Agent Clement Sze.        Specifically, Penitani asked in an

 intercepted phone conversation, “You by yourself eh?”                   See

 Exhibit 12.     This court finds it particularly noteworthy that

 Faagai-Del Mundo responded, “Yeah, yeah automatic.”                   Id.

            4.    Agents saw Penitani and Faagai-Del Mundo at Genki

 Sushi on October 29, 2012, at approximately 4:00 p.m., but could

 not hear what was said.        See Testimony of Special Agent Clement

 Sze.   Soon after the meeting, Penitani and Mitchell had an

 intercepted telephone call in which Penitani appeared interested

 in ensuring that Faagai-Del Mundo could be relied upon to support

 Penitani. Thus, Penitani asked Mitchell whether Faagai-Del Mundo

 was “trustworthy” and told Mitchell, “I said I just hope he don’t

 try to do me wrong.”        See Exhibit 1.

            5.    At approximately 8:00 p.m. the same day, agents

 intercepted another call between Penitani and Faagai-Del Mundo in

 which Faagai-Del Mundo was trying to locate Penitani at the

 Pearlridge Shopping Center for what seemed to have been a pre-

 planned meeting.        See ECF No. 155-3, PageID # 476; Exhibit 2.


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 Agents were not able to conduct surveillance of this meeting, but

 believed, given the preceding information they had, that Penitani

 and Mitchell were meeting Faagai-Del Mundo to supply him with

 methamphetamine.        See Testimony of Special Agent Clement Sze.

            6.    At approximately 1:12 p.m. on November 5, 2012,

 agents intercepted a text message from Faagai-Del Mundo to

 Penitani in which Faagai-Del Mundo said that he was going to

 Costco in Kapolei “to buy food for [his] house” and that if

 Penitani “gotta buy food for [Penitani’s] house,” they would meet

 at Costco.    See Exhibit 4.      Special Agent Sze testified that he

 believed that what Faagai-Del Mundo was really talking about was

 meeting with Penitani to give Penitani the money for drugs

 previously fronted to Faagai-Del Mundo.                See Testimony of Special

 Agent Clement Sze.        It does appear to the court unusual that two

 people who met for the first time about a week earlier and who

 are clearly not romantically involved with each other would be on

 such intimate terms that they would be meeting to do grocery

 shopping together.

            7.     Agents went to Costco in Kapolei, where they saw

 Penitani and his then-girlfriend, Keschan Taylor, in the parking

 lot.   See id.    Special Agent Sze testified that, while agents did

 not see Faagai-Del Mundo at Costco, Sze thought Faagai-Del Mundo

 had been there but had left by the time agents arrived.                   See id.

            8.    At approximately 6:06 p.m. the same day, agents


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 intercepted a text message from Penitani to Faagai-Del Mundo in

 which Penitani stated, “Man thanks to this broad I lost ten

 large.    Man sorry taking long with da tools bro.”                See Exhibit 5.

 Faagai-Del Mundo responded at approximately 6:36 p.m., stating,

 “I really need my tools so I can get back to work bro wat time we

 looking at.”      See Exhibit 6.   Special Agent Sze testified that he

 believed Penitani was indicating to Faagai-Del Mundo that

 Penitani had lost $10,000, and that use of the word “tools” was a

 reference to methamphetamine.           See Testimony of Special Agent

 Clement Sze.

             9.    At approximately 6:38 p.m. the same day, agents

 intercepted a text message from Faagai-Del Mundo to Penitani in

 which Faagai-Del Mundo stated, “Thanks brradah dont wanna lose my

 job.”    See Exhibit 7.

             10.    At approximately 7:46 p.m. the same day, agents

 intercepted a phone call between Penitani and Faagai-Del Mundo.

 See Exhibit 10.      Penitani and Faagai-Del Mundo discussed where

 they should meet later that night.              Id.    Penitani suggested

 McDonald’s in Waianae, but seemed concerned with “plenty people”

 being there.      Id.   Faagai-Del Mundo suggested Jack In The Box and

 said that “hardly any people” go there.                Id.    Penitani and

 Faagai-Del Mundo agreed to meet at the Waianae Jack In The Box.

 Id.

             11.    Agents went to the Jack In A Box in Waianae in


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 anticipation of the meeting between Penitani and Faagai-Del

 Mundo.    See Testimony of Special Agent Clement Sze.                 However, at

 approximately 8:14 p.m., agents intercepted a text message from

 Penitani to Faagai-Del Mundo changing the location of the

 meeting.    See Exhibit 11.    Penitani told Faagai-Del Mundo, “I

 stay 711.”    Id.    Realizing that there were two 7-Eleven stores in

 Waianae and uncertain which was the new location, the agents

 split up, with some driving to each store.                  See Testimony of

 Special Agent Clement Sze.

             12.    The agents who drove to the 7-Eleven store near

 Waianae High School saw Faagai-Del Mundo standing in the parking

 lot, leaning into the passenger side window of Penitani’s car.

 See id.    Penitani and Faagai-Del Mundo talked for about thirty

 minutes, but agents did not see them exchange anything in that

 time period.      See id.

             13.    At approximately 9:00 p.m., Faagai-Del Mundo left

 the 7-Eleven parking lot and drove west on Farrington Highway.

 See id.    Special Agent Sze had arranged for HPD Sergeant Leslie

 Morris to make a purported traffic stop.              At about 9:05 p.m.,

 Sergeant Morris pulled Faagai-Del Mundo over and told him that

 his vehicle had been identified as having been involved in a

 robbery.    Sergeant Morris asked to be allowed to search the

 vehicle.    See id.; ECF No. 155, PageID # 454.                Faagai-Del Mundo

 refused to consent and became belligerent.                  See ECF No. 155,


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 PageID # 454.    Sergeant Morris then directed Faagai-Del Mundo to

 get out of his vehicle.      See id.        Faagai-Del Mundo complied, sat

 on the curb of the road, and used his cell phone to tell others

 that he had been stopped by the police.               See id.    Soon afterwards

 some of his friends arrived.        See id.        Those individuals were

 belligerent and verbally combative towards Sergeant Morris.                   See

 id.

            14.   Observing what was occurring from a short distance

 away, Special Agent Sze decided to intervene.                 He went up to

 where Faagai-Del Mundo was waiting on the sidewalk and told him

 that his vehicle was suspected of having been involved in a

 robbery.   See Testimony of Special Agent Clement Sze.                  Special

 Agent Sze asked Faagai-Del Mundo for consent to search his

 vehicle, but Faagai-Del Mundo again refused.                 See id.

            15.   Special Agent Sze then asked Faagai-Del Mundo

 where he had come from.      Faagai-Del Mundo responded that he had

 just come from Jack In The Box, where he said he had purchased

 food for his family.      See id.      Special Agent Sze asked Faagai-Del

 Mundo more than once whether he had actually come from somewhere

 else, and Faagai-Del Mundo repeatedly said that he had just come

 from Jack In The Box.      See id.

            16.   Marked police cars then pulled up, and Faagai-Del

 Mundo was detained on the sidewalk near his vehicle.                   See id.

            17.   At that point, Special Agent Sze began searching


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 Faagai-Del Mundo’s vehicle.      See id.         Faagai-Del Mundo said that

 a backpack on the front passenger seat of the vehicle was not his

 and instead belonged to his uncle.            See id.       Special Agent Sze

 found drug paraphernalia in the backpack, and approximately half

 a pound of methamphetamine in the back pocket of the front

 passenger seat of the vehicle.         See id.

            18.   Faagai-Del Mundo was arrested and taken by HPD

 officers for processing.      See id.        Faagai-Del Mundo was later

 released pending investigation.         See id.

            19.   On November 7, 2012, Faagai-Del Mundo called

 Special Agent Sze and said that he wanted to come in to talk.

 See id.   During the interview, Faagai-Del Mundo made

 incriminating statements.

            20.   Faagai-Del Mundo was re-arrested on June 25, 2013.

 See ECF No. 270-1, PageID #s 877-78.             Faagai-Del Mundo made

 additional incriminating statements following this second arrest.

 See id.

            21.   Faagai-Del Mundo now moves to suppress the

 evidence obtained from the search of his vehicle on November 5,

 2012, and the statements he made during questioning on November

 8, 2012, and June 25, 2013.      See ECF No. 270, PageID # 872.

 III.       CONCLUSIONS OF LAW.

            Faagai-Del Mundo argues that the warrantless search of

 his vehicle violated his Fourth Amendment rights because agents


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 lacked probable cause to believe that the vehicle contained

 contraband or evidence of a crime.              Id.; ECF No. 270-1, PageID #

 881.   Faagai-Del Mundo contends that the only pertinent facts

 known to agents before the search were that Faagai-Del Mundo had

 “talked story” with Penitani in a parking lot for half an hour,

 that Faagai-Del Mundo was leaning into Penitani’s vehicle during

 their conversation, and that law enforcement agents had not seen

 anything exchanged.        ECF No. 270-1, PageID #s 881-82.             Faagai-Del

 Mundo argues that these facts do not suggest that his vehicle

 contained any evidence of criminal activity, and that mere

 association with a suspected criminal does not provide probable

 cause to search.        Id., PageID # 882.

            1.   Searches conducted without a warrant “are per se

 unreasonable under the Fourth Amendment--subject only to a few

 specifically established and well-delineated exceptions.” Katz v.

 United States, 389 U.S. 347, 357 (1967).                The burden is on the

 Government to prove “that a warrantless search or seizure falls

 within an exception to the warrant requirement.”                  United States

 v. Scott, 705 F.3d 410, 416 (9th Cir. 2012).

            2.   Under the automobile exception, warrantless

 searches and seizures of automobiles are permitted provided that

 probable cause exists.        See United States v. Ibarra, 345 F.3d

 711, 715 (9th Cir. 2003) (“Officers may search an automobile so

 long as they have probable cause.              No warrant is necessary


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 because of the so-called ‘automobile exception’ to the Fourth

 Amendment’s warrant requirement.”).

             3.   Probable cause exists when, considering the

 totality of the circumstances, there is a “fair probability that

 contraband or evidence of a crime will be found in a particular

 place.”    Illinois v. Gates, 462 U.S. 213, 238 (1983).

             4.   Contrary to Faagai-Del Mundo’s assertions, agents

 had probable cause to search his vehicle.

             5.   First, Faagai-Del Mundo was associating with

 Penitani, an individual under investigation as a drug distributor

 who was considered the source of recently seized methamphetamine.

 Although Faagai-Del Mundo’s association with Penitani does not on

 its own provide probable cause, it is an element that contributes

 to the totality of the circumstances that add up to probable

 cause.

             6.   Second, agents knew from their wiretap

 investigation that Penitani had been introduced to Faagai-Del

 Mundo by Julius Mitchell, a suspected drug trafficking associate

 of Penitani’s.     This at least suggested to agents that Faagai-Del

 Mundo was being contacted to participate in Penitani’s drug

 operation.

             7.   Third, Penitani asked Faagai-Del Mundo in an

 intercepted phone conversation on October 29, 2012, whether he

 was or would come to their meeting alone, and Faagai-Del Mundo


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 responded, “Yeah, yeah automatic.”          See Exhibit 12.      Penitani’s

 concern about whether others were around and Faagai-Del Mundo’s

 response that it was “automatic” that he was alone signaled that

 clandestine activity was occurring, which was especially notable

 considering that Penitani and Faagai-Del Mundo had apparently

 never met before that day.

             8.   Fourth, when Penitani and Mitchell spoke on the

 phone soon after Penitani and Faagai-Del Mundo met for the first

 time, Penitani asked Mitchell if Faagai-Del Mundo was

 “trustworthy” and expressed his hope that Faagai-Del Mundo would

 not do him wrong.       See Exhibit 1.      This further suggested that

 Faagai-Del Mundo was involved in illicit activity.

             9.   Fifth, Penitani and Faagai-Del Mundo appeared to

 speak in code.     In intercepted text messages, Penitani apologized

 to Faagai-Del Mundo for “taking long with da tools” and Faagai-

 Del Mundo stated that he needed his “tools” so he could “get back

 to work.”    See Exhibit 5; Exhibit 6.        Faagai-Del Mundo further

 stated that he did not want to “lose [his] job.”              See Exhibit 7.

 The use of terms such as “tools” does not mesh with anything else

 in the record about Penitani.          There is no indication that law

 enforcement agents had information at the time tying Penitani to

 construction work, mechanical work, or other manual labor.                The

 messages regarding Faagai-Del Mundo’s “work” and “job” indicated

 that Penitani and Faagai-Del Mundo were involved in some sort of


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 income-related activity.

             10.    Sixth, Faagai-Del Mundo became belligerent upon

 being told by Sergeant Morris that his vehicle was believed to

 have been involved in a robbery.            Of course, this was a ruse,2

 and Faagai-Del Mundo had reason to know that his vehicle had not

 been involved in any robbery.          Curiosity, confusion,

 bewilderment, irritation, and even anger would all have been

 understandable, but anger rising to the level of belligerence in

 a relatively short time is notable.            Again, this reaction does

 not on its own constitute probable cause, but it adds to the

 totality of the circumstances.

             11.    Seventh, during the course of Faagai-Del Mundo’s

 conversation with Special Agent Sze on November 5, 2012, Faagai-

 Del Mundo lied about where he had been.            He told Special Agent

 Sze that he had just come from Jack In The Box, where he said he

 had purchased food for his family.            Agents knew that Faagai-Del

 Mundo had instead come from meeting with Penitani at the 7-Eleven

 parking lot.      Faagai-Del Mundo’s lie suggested that he did not


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         Although there are limitations on how law enforcement may
 use ruses to conduct searches, the mere act of using a ruse does
 not violate the Fourth Amendment. See United States v. Garcia,
 997 F.2d 1273, 1280 (9th Cir. 1993); see also Brown v. Brierley,
 438 F.2d 954, 958 (3d Cir. 1971) (“If the police must announce
 their investigatory intentions even when acting openly in their
 official capacities, it might well follow that the police also
 must explain their purposes to criminal suspects when carrying
 out undercover investigations in which it is necessary that the
 police camouflage their identity.”).

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 want agents to know where he had really been, even though nothing

 about a 7-Eleven parking lot is, without more, inherently

 suspicious.    Even if they had not had probable cause before this

 point, agents certainly had enough information to establish

 probable cause upon hearing this repeated lie, which indicated

 that Faagai-Del Mundo did not want agents to know where he had

 actually been.     Given the totality of the circumstances, there

 was a fair probability that contraband or evidence of a crime

 would be found in Faagai-Del Mundo’s vehicle.             See Gates, 462

 U.S. at 238.

             12.   In his motion, Faagai-Del Mundo also states that

 “the prolonged, presearch detention here, even if it was

 justified by reasonable suspicion of criminal activity, was too

 long to be reasonable under the Fourth Amendment.”               ECF No. 270-

 1, PageID     # 879.    Faagai-Del Mundo contends that he was

 detained from 9:00 p.m. until the search of his vehicle was

 concluded sometime between 9:30 and 10:00 p.m.             Id.   However,

 Faagai-Del Mundo subsequently states that this issue “ultimately

 does not matter” because “the agents did not have probable

 cause.”    Id., PageID #s 879-80.

             13.   Given the comparative lack of analysis supporting

 Faagai-Del Mundo’s argument regarding the length of his detention

 and the absence of argument on this issue at the hearing on this

 motion, it is unclear to the court whether Faagai-Del Mundo is


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 truly objecting to the length of his presearch detention.                Even

 assuming Faagai-Del Mundo is making such an objection, the

 argument fails.

             14.   Faagai-Del Mundo’s detention was not so lengthy as

 to violate the Fourth Amendment.             It appears Faagai-Del Mundo was

 pulled over sometime between 9:00 and 9:05 p.m., and Special

 Agent Sze began speaking with Faagai-Del Mundo approximately ten

 to fifteen minutes later.        During Special Agent Sze’s

 conversation with Faagai-Del Mundo, Faagai-Del Mundo lied about

 his whereabouts.        At the very latest, agents had probable cause

 to search Faagai-Del Mundo’s vehicle at that point.               The record

 before this court indicates that the period of Faagai-Del Mundo’s

 detention prior to the search was likely about fifteen to twenty

 minutes, and there is no evidence suggesting that the detention

 was longer than necessary or somehow divorced from agents’

 reasonable suspicion.       See Florida v. Royer, 460 U.S. 491, 500

 (1983); Gallegos v. City of Los Angeles, 308 F.3d 987, 992 (9th

 Cir. 2002).    This conclusion is bolstered by evidence in the

 record indicating that Faagai-Del Mundo and his friends were

 belligerent and uncooperative at the scene, which meant that the

 event could not proceed as quickly as it otherwise could have.

             15.   Because the court has determined that no Fourth

 Amendment violation occurred, Faagai-Del Mundo’s statements do

 not fall under the “fruit of the poisonous tree” doctrine and are


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 not suppressed.     See United States v. Redlightning, 624 F.3d

 1090, 1102 (9th Cir. 2010) (holding that the fruit of the

 poisonous tree doctrine applies when evidence is obtained

 “subsequent to a violation of the Fourth Amendment”).

 IV.         CONCLUSION.

             Faagai-Del Mundo’s motion to suppress is denied.



             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, December 23, 2014.


                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     Chief United States District Judge




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